
Per curiam.
Fuller pled guilty in the Superior Court of Wayne County, North Carolina to the offenses of conspiracy to possess with intent to sell and deliver heroin, sale and delivery of heroin, and accessory before the fact to the sale and delivery of heroin, being all felonies and crimes involving moral turpitude.
The State Disciplinary Board recommended that Fuller’s motion to voluntarily surrender his membership in the State Bar of Georgia, to withdraw voluntarily from the practice of law in this state, and that his name be stricken from the rules of those authorized to practice law in the State be granted.
It is noted that the action in this case has the same effect as disbarment and is to be treated as such.
We agree, and the recommendation is approved.

All the Justices concur.

